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IN THE UNITED STATES BANKRUPTCY COURT Ae i
FOR THE DISTRICT OF DELAWARE 5 _. a

In re:

AMERICAN HOME MORTGAGE HOLDINGS, INC.,
a Delaware corporation, et al.,!

x Chapter 11
Case No. 07-11047 (CSS)

Jointly Administered

Ref/ Docket No. 10184, 10183 & 10182
Debtors.

MOTION IN LIMINE CERTAIN DOCUMENTS BY DEFENDANTS

Comes now, Hussain Kareem, the Title Holder/Owner/Mortgagor, herein referred to as
Claimant, moves this court to strike, declare inadmissible, irrelevant for purposes of the
highest and best use of documents relevant to the subject-matter at bar. By virtue of the
plethora of questionable documents entered by the Defendants, the Rules of Evidence

requires a determination to done when raised by a Judicial Notice. Thus, moves the court

as enumerated:

' The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: American Home Mortgage Holdings, Inc. (“AHM Holdings”), a Delaware corporation (6303);
American Home Mortgage Investment Corp. (“AHM Investment”), a Maryland corporation (3914);
American Home Mortgage Acceptance, Inc. (“AHM Acceptance”), a Maryland corporation (1979); AHM
SV, Inc. (f/k/a American Home Mortgage Servicing, Inc.) (“AHM SV”), a Maryland corporation (7267);
American Home Mortgage Corp. (“AHM Corp.”), a New York corporation (1558); American Home
Mortgage Ventures LLC (“AHM Ventures”), a Delaware limited liability company (1407); Homegate

Settlement Services, Inc. (“Homegate”), a New York corporation (7491); and Great Oak Abstract Corp.
(“Great Oak”), a New York corporation (8580). The address for all of the Debtors is 538 Broadhollow
Road, Melville, New York 11747,

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Many documents entered or attempted by Defendants in their Objections to
Claims relate to court proceedings in the U.S. Fifth Circuit Court of Appeals,
Case no. 11-10701 related to rulings and activities not directly related to AHMH
Breach of Contract to the Mortgagor of loan number 001350490.

. The rulings in the cause of Action in U.S. District are not the outcome effecting
AHMH. These many issues were inapposite to the parties of interests in the
contract or loan made on July 7, 2006. AHMSI, for example was not in existence
as a legal entity at such time that the transaction occurred.

. As Appellant in the above stated appeals case, there is a high likelihood of
success to overcome many of the evidentiary and procedural errors made in the
course of litigation.

. All non original documents are for the most part for the conversation purposes
only. Debtors are requested to explain and account for where the genuine
originals are being held and made available for authentication of signatures.
Claimant request the court to declare the relevant use of as materials before any
determination can be cast, in truth on the facts in this case, including the Original
Promissory Note, the Adjustable Rate Note, First Five Year Fixed Payment-12
MTA and Security Deed. Thus, many of the documents are irrelevant or
inadmissible.

. Claimant finds many unauthenticated documents, no proof of delivery, unsigned
documents with an attempt to have an Affidavit like the one by Jose Colon and

employee of AHMSI to be used in this proceeding without a personal appearance

to testify.
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Accounting records show no independent audit or testimony from AHMH’s
employees. It is believed that during the securitization process, the Master
Servicer was Wells Fargo. It would stand to reason that records must be
reconciled from the Master Servicer. Therefore, Claimant only present his cause
to haved authenticated the documents presented . Anything less, without a
testimony is a plain error and inappropriate.

Entry of documents by the counsel is only an attempt to confuse the court or a
jury and must be stricken for failing to meet admissible standards or the ability to
cross examine or to be depose properly.

Counsel makes many statements in which may persuade the court as though
there is personal knowledge to the facts and intent of the Plaintiff. These
statements must be deemed hearsay or admitted only if Counsel(s) have been
sworn into the record. As counsel for Defendants, have indicated that they seek to
be the only expert witnesses for the Defendants. As a rule, attorneys representing
their clients in court are not permitted to testify as to facts about which they have no
personal, first-hand knowledge ... and, if they do so, they should be disqualified as
counsel for their client and placed under oath (Emphasis).

Plaintiff seeks to have counsel cross-examined or deposed under deposition or
subpoena, for purposes of impeachment. Plaintiff wants to remove all immunities
on any issues of perjury made by counsel.

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Plaintiff moves the court to grant his Motion In Liminie as a matter of law, under
the Federal Rules of Evidence. For reasons cited above incorporated in paragraphs

1 through 10.

Motion is Limine is supported by the fact that Claimant had Requested for

Discovery prior to the Evidentiary Hearing With Brief in Support , filed in

the court record.

Claimant notices that the court order denying discovery and request
reconsideration in order to fulfill requests made in this motion.

Plaintiff seeks evidentiary hearing on all matters related only to support this cause
of action at bar before this court.

That if this court disagrees with the Plaintiffs right for the hearing, then Plaintiff
requests this court by Rule 52 (a)(1) for the fact findings or conclusions for the

denial of the motion submitted by the Plaintiff.

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Signed on this day 18th of November, 2011.

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